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1                                                               The Honorable Judge Benjamin H. Settle
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10                         IN THE UNITED STATES DISTRICT COURT
11                      WESTERN DISTRICT OF WASHINGTON (TACOMA)
     NATHEN BARTON,                                     CASE NO. 3:21-cv-05372-BHS
12                                Plaintiff
13
                                                        PLAINTIFF’S  REPLY    TO    DEFENDANTS,
14                          v.                          LEADPOINT INC. & RELIANCE FIRST CAPITAL,
                                                        LLC’S RESPONSE TO PLAINTIFF’S MOTION FOR
15                                                      RECONSIDERATION OF THE MAY 31, 2022,
16                                                      COURT ORDER GRANTING DEFENDANTS’
     LEADPOINT INC., & RELIANCE                         MOTION FOR ATTORNEYS’ FEES [DCK#76]
17   FIRST CAPITAL LLC
                           Defendants.
18
     TO: The United States District Court Clerk’s Office;
19   TO: Mintz Levin Cohn Ferris Glovsky & Popeo, P.C, Attorney for Defendants;
     TO: Goldfarb & Huck Roth Riojas, PLLC, Attorney for Defendants
20
                                               I. PLAINTIFF’S REPLY
21
               COMES NOW the Plaintiff, Nathen Barton, by and through his counsel of record, Edward C.
22

23   Chung with the law firm of CHUNG, MALHAS & MANTEL, PLLC, and hereby respectfully submits

24   Plaintiff’s Reply to Defendant, Leadpoint Inc. and Reliance First Capital LLC’s1 Court Ordered Response
25

26

27   1
         Hereinafter referred to collectively as “Defendants”
28
     PLAINTIFF’S REPLY TO DEFENDANTS, LEADPOINT INC. &
     REILIANCE FIRST CAPITAL, LLC’S RESPONSE TO PLAINTIFF’S                 CHUNG, MALHAS & MANTEL, PLLC
     MOTION FOR RECONSIDERATION OF THE MAY 31, 2022, COURT                         1037 NE 65th Street, Suite 80171
     ORDER GRANTING DEFENDANTS’ MOTION FOR ATTORNEYS’ FEES                            Seattle, Washington 98115
     [DCK#76]- PAGE 1 OF 6                                               Phone: (206) 264-8999 ♦ Facsimile (206) 264-9098
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1    to Plaintiff’s Motion for Reconsideration of the May 31, 2022, Court Order Granting Defendants’ Motion
 2
     for Attorneys’ Fees [Dck#76]. In consideration of the factual and legal grounds presented on the record,
 3
     the declaration of Diana Bartolome [ECF# 80-1] from DB Product Marketing was the individual who
 4

 5   managed ‘TCPA University’ social media content, not the Plaintiff, wherein such sworn declaration

 6   qualifies as new evidence that as a matter of law, reconsideration must be granted to prevent a manifest
 7   injustice.
 8
             Additionally, clear error exists for granting reconsideration because contrary to this Court ruling,
 9
     Plaintiff, as matter of law, had the right to revoke consent. Pursuant to Ninth Circuit Court’s published
10

11   precedent in Van Patten v. Vertical Fitness Group, LLC, 847 F. 3d 1037, (9th Cir. Jan. 30, 2017) a

12   consumer does have the ability to revoke consent. Tellingly, Defendants provide no legal analysis or
13   citation to the Ninth Circuit decision in Van Patten within their Response to Plaintiff’s Motion for
14
     Reconsideration. Why? Because on that basis alone there can be no award of attorneys’ fees. While
15
     Defendants attempt to reconcile this omission by arguing that Plaintiff phone was used strictly for business
16

17   purposes, there is legal argument and there is reality. Reality is that the number was used for residential

18   and it is uncontested that the FCC “presumes that wireless subscribers who ask to be put on the National
19   Do Not Call Registry are residential subscribers wherein Defendants arguments are unconvincing and may
20
     be disposed of as frivolous.
21
             While Defendants attempt to persuade the Court that reconsideration should be denied by
22

23   submitting evidence that lacks proper evidentiary foundation under FRE 602 and authentication under

24   FRE 901, factually this evidence is facially immaterial to the pending proceedings and this motion.
25   Exempli gratia, Defendants Motion for Dismissal was filed on June 17, 2021 (ECF# 31] and terminated
26
     November 3, 2021. They now for some reason offer a USPTO service mark that was filed on November
27

28
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1    10, 2021 by Plaintiff for TCPA University, as well as a November 18, 2021 Facebook posting. See, [ECF
 2
     82-3 and ECF# 82-4]. Aside from the fact that both Plaintiff and Diane Bartolome, from DB Product
 3
     Marketing, sworn declaration filed in conjunction with this Reply eradicates Defendants speculative
 4

 5   arguments on social media postings and purported control, more importantly this evidence is wholly

 6   irrelevant and misleading as such USPTO service mark filing date and Facebook posting was made
 7   after Defendants’ Motion to Dismiss and after the Magistrates Recommendation. In other words, it
 8
     cannot be a basis for Judge Settle awarding attorneys’ fees as this was not the basis for Defendants Motion
 9
     to Dismiss and request for attorneys’ fees nor was it this Court’s basis for awarding attorneys’ fees. This
10

11   too applies to other legal proceedings and downloads that Defendants admit are after the Magistrates

12   Report. Respectfully, it is wholly irrelevant and shows nothing less than a herculean effort to come up
13   with some basis to award attorneys fees that is bordering on factual and legal fantasy contrary to law.
14
     Again, as long as “a party has set forth some good-faith argument in favor of its position, it will
15
     generally not be found to have advanced `exceptionally meritless ‘claims.” Small v. Implant Direct Mfg.
16

17   LLC, No. 06 Civ. 683(NRB), 2014 WL 5463621, at *3 (S.D.N.Y. Oct. 23, 2014). There is nothing in

18   Defendants’ Reply that shows Plaintiff’s complaint was “exceptionally meritless” wherein sanctions
19   should have been awarded. See, Calypso Wireless, Inc. v. T-Mobile USA Inc., No. 2:08-CV-441-JRG-
20
     RSP, 2015 WL 1022745, at *2-5 (E.D. Tex. Mar. 5, 2015) [not an exceptional case because the litigation
21
     conduct was not exceptional and the plaintiff's defeat was due to a claim construction that was
22

23   incorrect but supported by some evidence]; Howlink Global LLC v. Centris Info. Servs., LLC, No.

24   4:11CV71, 2015 WL 216773, at *6 (E.D. Tex. Jan. 8, 2015) [not an exceptional case when the party's
25   claim construction was incorrect but reasonable]. With all due respect, Defendants’ counter-arguments
26

27

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1    for reconsideration, if there is one, is nonsense and is parasitic to the underlying factual and legal grounds
 2
     attorneys’ fees were awarded.
 3
            In U.S. Magistrate Frick’s Recommendation and Report she expressly indicates that while
 4

 5   investigating who sent him the “Hi Wendy” text message, Plaintiff created an Established Business

 6   Relationship (“EBR”) on March 2, 2021, to receive further solicitations from Defendants (ECF# 47, 8:19-
 7   20). In the following message to Defendants, Mr. Barton canceled any EBR on March 7, 2021, requesting
 8
     no more calls, and asked to be put on their do-not-call list (“DNC Request”) (Dkt 31, 8:14-24).
 9
            This DNC Request was sent to LeadPoint on their communications portal. Attached hereto as
10

11   Exhibit A is a true and correct of Leadpoint’s portal. This Court should take note that while it

12   communicates who they would love to hear from, it says nothing of who may not use that communication
13   channel.
14

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22          The record is clear-cut. Forty-four (44) days after the DNC Request, Defendant LeadPoint sent

23   Mr. Barton further solicitation text and on April 14, 2021, Reliance Capital initiated a solicitation call to
24   Mr. Barton (38 days after the DNC Request). The record also reflects that Mr. Barton pointed out that
25
     LeadPoint and Reliance placed phone calls to Plaintiff for the next 25 days of the 30-day post DNC
26
     Request timeframe which is per se a violation of 47 C.F.R. §64.1200(d)(3). As such, liability is arguably
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28
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1    clear cut and although Mr. Barton’s case has been dismissed, Ninth Circuit authority, at the very least, provides
 2
     a meritorious basis for Mr. Barton’s dismissed claims not be construed as “exceptionally frivolous”
 3
             In terms of Defendants arguments that Plaintiff phone line was being strictly used for business
 4

 5   purposes, Plaintiff has provided filed in conjunction with this Reply his Declaration clearly and

 6   unequivocally showing that this line was used for residential purposes. Moreover, as previously addressed,
 7   The Federal Trade Commission (“FCC”) “presumes that wireless subscribers who ask to be put on the
 8
     National Do Not Call Registry are residential subscribers.” See, Barton v. Temescal Wellness, LLC, 525
 9
     F. Supp. 3d 195 (D. Mass. 2021); Mohon v. Agentra LLC, 400 F. Supp. 3d 1189 (D.N.M. 2019); Mantha
10

11   v. QuoteWizard.com, CIVIL 19-12235-LTS (D. Mass. Feb. 3, 2022); Stevens-Bratton v. TruGreen, Inc.,

12   437 F. Supp. 3d 648 (W.D. Tenn. 2020). Because Plaintiff’s number was on the DNC, there is a
13   presumption that its use was residential.
14
             In consideration of the totality of these facts and also that the Van Patten v. Vertical Fitness Group,
15
     LLC, 847 F. 3d 1037, (9th Cir. Jan. 30, 2017) did not limit revocation under the TCPA, an award of
16

17   attorneys’ fees on the basis Mr. Barton’s claims were purportedly frivolous would be a manifest injustice

18   in consideration of the facts and the law.
19                                                III. CONCLUSION
20
             Based on the foregoing, Plaintiff respectfully asks that this Court reconsider its Order and deny
21
     granting attorneys’ fees to Defendants.
22

23                   Respectfully submitted this 6th day of July, 2022.

24
                                                     CHUNG, MALHAS & MANTEL, PLLC.
25

26                                                   /s/ Edward C. Chung                   .
                                                     Edward C. Chung, WSBA # 34292
27                                                   Attorney for Plaintiff, Nathen Barton
28
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1                                    IV. DECLARATION OF SERVICE
 2
            I, Edward C. Chung, counsel of record for the Plaintiff, declare under penalty of perjury under
 3
     the laws of the State of Washington that I caused copies of the foregoing document to be served using
 4

 5   the United State District Court Electronic Case Filing (“ECF”) System which shall provide

 6   automatically a copy to Defendants’ counsels of record:
 7

 8
                          Respectfully submitted this 6th day of July, 2022.
 9

10                                                /s/ Edward C. Chung                   .
11                                                Edward C. Chung, WSBA # 34292
                                                  Attorney for Plaintiff, Nathen Barton
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